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                         IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF ARKANSAS
                                     HELENA DIVISION


Re:    David R Coleman and                                              Case No. 2:10-bk-18348J
       Marie K Coleman, Debtors                                                        Chapter 7

             REPORT OF UNCLAIMED FUNDS PURSUANT TO FRBP 3011

       The undersigned trustee of the above-styled estate states as follows for his report of

unclaimed funds:

       1.      The Trustee made distribution in accordance with the Order Approving Trustee's

Final Account and Directing Trustee to Make Distribution (D.E. #91). The bank account of this

estate reflects that the sum of $4,942.30 is still on deposit, which sum represents payments mailed

to the below-named payees:


              Claim No.              Creditor/Payee               Dividend Amount
                                   Bank of America
                   3-1              PO Box 17054                       $464.51
                                 Wilmington, DE 19850
                                  Chase Card Services
                   5-1              PO Box 15298                      $1,697.29
                                 Wilmington, DE 19850
                                  Chase Card Services                 $2,694.89
                   6-1              PO Box 15298
                                 Wilmington, DE 19850
                                       GEMB/JCP
                   9-1              PO Box 981402                      $57.93
                                   El Paso, TX 79998
                                   GEMB/Sams Club
                 10-1               PO Box 981400                      $27.68
                                   El Paso, TX 79998
                                Total                                 $4,942.30
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       2.      Payments have been stopped on the above-listed checks.

       3.      Pursuant to 11 U. S. C. 347 and Chapter 129 of Title 28, U. S. C., and FRBP 3011,

a check is being tendered to “United States Bankruptcy Court” in the amount of $4,942.30. This

amount should be deposited in the Federal Reserve for the benefit of the unclaimed dividend payees.

       DATE           April 8, 2019

                                             Respectfully Submitted,
                                             Hamilton M. Mitchell, Trustee

                                      By:    /s/ Hamilton M. Mitchell, Trustee
                                             Hamilton M. Mitchell, Trustee
                                             523 S. Louisiana, #300
                                             Little Rock, AR 72201
                                             501-374-1019
                                             hamiltonmosesmitchell@gmail.com




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                                   CERTIFICATE OF NOTICE

       I, Hamilton M. Mitchell, hereby certify that on today’s date, I electronically filed the
foregoing Report of Unclaimed Funds with the Clerk of the Bankruptcy Court using the CMF\ECF
system, which shall send notification of the filing to all parties entitled to receive electronic notice.

        DATE            April 8, 2019

                                                /s/ Hamilton M. Mitchell, Trustee
                                                Hamilton M. Mitchell, Trustee
